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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            NORTHERN DISTRICT OF FLORIDA
                                 PENSACOLA DIVISION

AARON JOHNSON,

       Plaintiff,

vs.                                             Case No: 3:05cv87/MCR/EMT

FRANSIS JONES, JUDY COOK,
and LEWIS WILLIAMS,

       Defendants.
                                   /

                                       ORDER

       This cause comes on for consideration upon the magistrate judge’s report and
recommendation dated May 2, 2005. Plaintiff has been furnished a copy of the report and
recommendation and has been afforded an opportunity to file objections pursuant to Title
28, United States Code, Section 636(b)(1). I have made a de novo determination of any
timely filed objections.
       Having considered the report and recommendation, and any objections thereto
timely filed, I have determined that the report and recommendation should be adopted.
       Accordingly, it is now ORDERED as follows:
       1. The magistrate judge’s report and recommendation is adopted and incorporated
by reference in this order.
       2. This cause is DISMISSED for lack of subject matter jurisdiction and the clerk is
directed to close the file.
       DONE AND ORDERED this 16th day of May, 2005.


                                          s/   M. Casey Rodgers
                                         M. CASEY RODGERS
                                         UNITED STATES DISTRICT JUDGE
